Case: 1:13-cr-00617 Document #: 161-2 Filed: 08/09/16 Page 1 of 8 PagelD #:763

Department of Treasury
Feaeral Law Enforcement Agencies

PROCESS RECEIPT AND RETURN

PLAINTIFF

UNITED STATES OF AMERICA

COURT CASE NUMBER

13 CR 617-2

DEFENDANT

MARVIN BAUSLEY

TYPE OF PROCESS

PRELIMINARY ORDER OF FORFEITURE

REAL PROPERTY COMMONLY KNOWN AS:

Nauie of Individual, Company, Corporation, Etc. to Serve or Description of Property to Seize

Address (Street or RFD / Apt. # ? City, State, and Zip Cade}
9247 SJ INDIANA, CHICAGO, ELLINOIS

SERVE
Al

Send NOTICE OF SERVICE copy ter Requester.

ZACHARY T. FARDON, UNITED STATES ATTORNEY
OFFICE OF THE UNITED ST
219 SOUTH DEARBORN STREET, STH FL OR

CHICAGO. ILLINOIS 60604

ATTN: BARBARA ROBERTSON, CONTRACT PARALEGAL

Number Of Process Io Be
Served In This Case

Number Of Parties To Be
Served fn This Case,

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SPECIAL INSTRUCTIONS or OTHER INFORMATION TO ASSIST
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PERSONAL SERVICE IS REQUIRED.

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Rd i td

MATTHEW EBERT, AUSA >

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[X | Plaine? Telephone No.

[| Defendant | (3123353-5300

Date

&
SIGNATURE OF PERSON ACCEPTING PROCESS: Date
SPACE BELOW FOR USE OF TREASU IRY LAW ENFORCEMENT AGENCY
ceipt forthe Total # Dastrict of Origin District to Serve SIGNATURE OF AUTHORIZED TREASURY AGENCY OFFICER Date
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Att. Tee debtor

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| HAVE LEGAL EVIDENCE OF SERVICE, |
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{ =] A Person of suitable age and discretion then residing in the
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ADDRESS. (Complete only if different than shown above.)
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Date of Service Time of Service

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Signature, Tite and Treasury Agency

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REMARKS:

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Case: 1:13-cr-00617 Document #: 161-2 Filed: 08/09/16 Page 2 of 8 PagelD #:764

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Department of Treasury
Federal Law Enforcement Agencies

PROCESS RECEIPT AND RETURN

PLAIN FUE

UNITED STATES OF AMERICA

COURT CASE NUMBER

13 CR 617-2

DEFENDANT

MARVIN BAUSLEY

TYPE OF PROCESS

PRELIMINARY ORDER OF FORFEITURE

Name of Individual, Company. Corporation, Etc.
REAL PROPERTY COMMONLY NNOWN AS;

to Serve or Description of Property to Seize

SERVE Address (Street or RFID / Apt. # / City. State. and Zp Code)
AT 14749 S, CLIFTON PARK AVE., MIDLOTHIAN, ILLINOIS

Send NOTICE OF SERVICE copy to Requester:

ZACHARY T. FARDON, UNITED STATES ATTORNEY
OFFICE OF THE UNFLTED STATES ATTORNEY

219 SOUTH DEARBORN STREET, STH FLOOR

CHIC AGO, ILLINOES 60604

ATTN: BARBARA ROBERTSON, CONTRACT PARALEGAL

Number Of Process To Be
Served In. This Case.

Nutmber Of Parties ‘To Be
Served In This Case.

Check Box tH Service ls Gn USA

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PERSONAL SERVICE IS REQUIRED.

SPECIAL INSTRUCTIONS or OTHER INFORMATION TO ASSIST IN EXPEDTTING SERVICE (includes Business and Alternate Addresses, Phone Numbers, and Estinated Availability

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Signature of Astorney or cther Originator requesturg service on behalf of { X ] Plaintiff ‘Telephone No. Date
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MATTHEW ERERT,AUSA 79 tet Le Obey ¢ Fhe [ ]Defendan } (312) 353-5300 HUSAS

SIGNATURE OF PERSON ACCEPTING PROCESS. Date

SPACE BELOW FOR USE OF TREASURY LAW ENFORCEMENT AGENCY

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NAME & TLE oMndividual Served [fnot shown atove:
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defendant's usual place of abode.

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REMARKS:

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Case: 1:13-cr-00617 Document #: 161-2 Filed: 08/09/16 Page 3 of 8 PagelD #:765

Department of Treasury

Federal Law Enforcement Agencies

PROCESS RECEIPT AND RETURN

MARVIN BAUSLEY

PLAINTIFF COURT CASE NUMBER
UNITED STATES OF AMERICA 13 CR 617-2
DEFENDANT TYPE OF PROCESS

PRELIMINARY ORDER OF FORFEITURE

Name of Individual, Company, Corporation, Etc. to Serve or Description of Property to Seize

COOK COUNTY TREASURER

SERVE
AT

Address (Street or RFD / Apt. # / City, State, and Zip Code)
118 NORTH CLARK ST., ROOM 112, CHICAGO, ILLINOIS 60602

Send NOTICE OF SERVICE copy to Requester:

ZACHARY T. FARDON, UNITED STATES ATTORNEY
OFFICE OF THE UNITED STATES ATTORNEY

219 SOUTH DEARBORN STRERFT, STH FLOOR

CHICAGO, ILLINOIS 60604

ATTN; BARBARA ROBERTSON, CONTRACT PARALEGAL

Number Of Process To Be
Served In This Case.

Number Of Parties To Be
Served in This Case.

Check Box If Service is On USA

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PLEASE SEND VIA CERTIFIED MAIL.

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Signature of Attorney or other Originator requesting service on behalf of (X ] Plaintiff Telephone No. Date
MATTHEW EBERT, AUSA / Ne) 4 ~ [ } Defendant | (312) 353-5300 LHSAS

7 7
SIGNATURE OF PERSON ACCEPTING PROCESS: Date
SPACE BELOW FOR USE OF TREASURY LAW ENFORCEMENT AGENCY
T acknowledge receipt for the Total # District of Origin District to Serve SIGNATURE OF AUTHORIZED TREASURY AGENCY OFFICER: Date a
of Process Indicated, No. No. . . . tt ~{6- tS

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Thereby Certify and Return That I [

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Described on the Individual, Company, Corporation, Etc., At The Address Shown Above or at the Address Inserted Below.

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[ | THEREBY CERTIFY AND RETURN THAT I AM UNABLE TO LOCATE THE INDIVIDUAL, COMPANY, CORPORATION, ETC. NAMED ABOVE,

NAME & TITLE of Individual Served If not shown above: [ ]

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defendant's usual place of abode.

ADDRESS: (Complete only if different than shown above.)

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Signature, Title and

Treasury Agency

REMARKS:

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Case: 1:13-cr-00617 Document #: 161-2 Filed: 08/09/16 Page 5 of 8 PagelD #:767

Department of Treasury
Federal Law Enforcement Agencies

PROCESS RECEIPT AND RETURN

PLAINTIFE COURT CASE NUMBER

UNITED STATES OF AMERICA 413 CR 617-2

DEFENDANT TYPE OF PROCESS

MARVIN BAUSLEY PRELIMINARY ORDER OF FORFEITURE

Name of Individual, Company, Corporation, Ete, to Serve or Description of Property to Seize
MTAG AS CUST FOR CAZ CREEK IL LLC

SERVE Address (Street or RFD / Apt. # / City, State, and Zig Code}

AT PO BOX 54303, NEW -ORLEANS, LA 70154
Send NOTICE OF SERVICE copy to Requester: Number Of Process To Be
Served in This Case,
ZACHARY T. FARDON, UNITED STATES ATTORNEY
OFFICE OF THE UNITED STATES ATTORNEY ‘Nuniver Of Parties To Be
219 SOUTH DEARBORN STREET, STH FLOOR Served In. This Case.
CHICAGO, ILLINOIS 60604
ATTN: BARBARA ROBERTSON, CONTRACT PARALEGAL Check Box If Service Is On USA
SPECIAL INSTRUCTIONS or OTHER INFORMATION TO ASSIST IN EXPEDITING SERVICE (inchides Business and Alternate Add . Phone Numbers, and Estimated Availability
times.)

PLEASE SEND VIA CERTIFIED MALL,

Signature of Attorney or other Originator requesting gervice on Dehall of LX) Piaintif ‘Telephone No. Date
MATTHEW EBERT, AUSA Poth. L eA Fp— I] Defendant | (312) 353-5300 TSS

SIGNATURE OF PERSON ACCEPTING PROCESS: Date

SPACE BELOW FOR USE OF TREASURY LAW ENFORCEMENT AGENCY

{ acknowledge receipt for the Total # District of Origin District to Serve SIGNATURE OF AUTHORIZED TREASURY AGENCY OFFICER: Date
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Described on the Individual, Company, Corporation, Etc., At The Address Shown Above or at the Address Inserted Below.

{ JIHEREBY CERTIFY AND RETURN THAT I AM UNABLE TO LOCATE THE INDIVIDUAL, COMPANY, CORPORATION, ETC. NAMED ABOVE,

NAME & TITLE of individual Served [f not shown above: I | A Person of suitable age and discretion then residing in the
defendant's usual place of abode.

ADDRESS: (Complete only if different than shown above.) Date of Service Time of Service { JAM

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REMARKS:

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Case: 1:13-cr-00617 Document #: 161-2 Filed: 08/09/16 Page 7 of 8 PagelD #:769

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
UNITED STATES OF AMERICA )
) No. 13 CR 617-2
V. )
) Judge Thomas M. Durkin
MARVIN BAUSLEY )

I, Barbara Robertson, a non-attorney, certify that a copy of the preliminary order of
forfeiture was sent via certified mail to the following party:
"Newline Financial
30 W. Monroe, Suite 400
Chicago, Illinois 60603

by enclosing said property addressed envelope, postage paid, and depositing same in the United

States mail at 219 S. Dearborn, Chicago, Illinois before the hour of 5:00 p.m. on the 22"! day of

Av, Poe,

Barbara Robertson

January 2016.

SUBSCRIBED and SWORN to before me
is 22" day of January 2016.

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por "OFFICIAL SEAL"
w Catherine A Montgomery

Notary Public, State of Minois
My Commission Expires 11/2/2019

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